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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                                     CASE NO. 10-62493-CIV-DIMITROULEAS
 BARBARA LENTINI,

        Plaintiff,

 vs.

 ENHANCED RECOVERY COMPANY, LLC,

       Defendant.
 _____________________________________/

                        ORDER APPROVING VOLUNTARY DISMISSAL

        THIS CAUSE is before the Court upon Plaintiff’s Notice of Voluntary Dismissal with

 Prejudice [DE-5], filed herein on February 8, 2011. The Court has carefully considered the

 Notice and is otherwise fully advised in the premises. Pursuant to Federal Rule of Civil

 Procedure 41(a)(1)(A)(i), a plaintiff may dismiss an action without a court order “before the

 opposing party serves either an answer or a motion for summary judgment,” as is the case here.

        Accordingly, it is ORDERED AND ADJUDGED as follows:

        1.      Plaintiff’s Notice of Voluntary Dismissal with Prejudice [DE-5] is hereby

                APPROVED;

        2.      This action is hereby DISMISSED with prejudice;

        3.      The Clerk shall CLOSE this case and DENY all pending motions as moot.

        DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County, Florida this

 8th day of February, 2011.



 Copies furnished to:
 Counsel of record
